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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="5a5083a0c5"&gt;&lt;span data-sentence-id="bc0580ca16" quote="false" data-paragraph-id="5a5083a0c5"&gt;2022 CO 32&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3403cd35c5"&gt;&lt;span data-sentence-id="d990c0e4f1" quote="false" data-paragraph-id="3403cd35c5"&gt; Ford Motor Company, Petitioner &lt;br /&gt; v.&lt;/span&gt; &lt;br /&gt; Forrest Walker. Respondent &lt;/p&gt;&lt;p data-paragraph-id="133b2aeded"&gt;No. 20SC947&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1d582eef7d"&gt;July 25, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="9b4702f5c4"&gt;&lt;span data-sentence-id="cdb3aa67b4" quote="false" data-paragraph-id="9b4702f5c4"&gt; Certiorari to the Colorado Court of Appeals Court of Appeals Case No. 19CA1243 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="b9a7d745fa"&gt;&lt;span data-sentence-id="372a74881b" quote="false" data-paragraph-id="b9a7d745fa"&gt; Petition for Rehearing DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="c81064c4c3"&gt;&lt;span data-sentence-id="95167164da" quote="false" data-paragraph-id="c81064c4c3"&gt; JUSTICE MÁRQUEZ and JUSTICE HART would grant the petition.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="bc280b2cef"&gt;&lt;span data-sentence-id="f69e2b208d" quote="false" data-paragraph-id="bc280b2cef"&gt; JUSTICE BERKENKOTTER does not participate.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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